        Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 1 of 24




                        UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION


TEXAS TRIBUNE, MANO AMIGA,
CALDWELL/HAYS EXAMINER,

              Plaintiffs,

       v.                                    Civil Action No. 1:23-cv-910-RP

CALDWELL COUNTY, TEXAS, et al.,

              Defendants.



            PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION


Camilla Hsu (24130207)                  Scott Wilkens (Pro Hac Vice)
Texas Fair Defense Project              Knight First Amendment Institute
314 E. Highland Mall Blvd., Suite 204     at Columbia University
Austin, TX 78752                        475 Riverside Drive, Suite 302
(512) 637-5220 x111                     New York, NY 10115
chsu@fairdefense.org                    (646) 745-8500
                                        scott.wilkens@knightcolumbia.org
Counsel for Plaintiffs Mano Amiga and
Caldwell/Hays Examiner                  Counsel for Plaintiffs

Julie A. Ford (07240500)
George Brothers Kincaid & Horton, LLP
114 W. 7th Street, Suite 1100
Austin, Texas 78701
(512) 495-1448
Jford@gbkh.com

Counsel for Plaintiff Texas Tribune
              Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 2 of 24




                                                            Table of Contents

Table of Authorities ........................................................................................................................ ii

Introduction ......................................................................................................................................1

Preliminary Statement......................................................................................................................1

Background ......................................................................................................................................3

     I.          Magistration in Caldwell County ...................................................................................3

     II.         Harms suffered by Plaintiffs due to the closure of magistration ...................................5

     III.        Plaintiffs’ efforts to access magistration and Defendants’ policy banning
                 access .............................................................................................................................6

Argument .........................................................................................................................................7

     I.          Preliminary injunction standard. ....................................................................................7

     II.         Plaintiffs are likely to succeed on the merits. ................................................................8

                 A.         The press and public have a presumptive First Amendment right of
                            access to bail hearings....................................................................................... 8

                 B.         Defendants cannot overcome the presumptive right of access to bail
                            hearings. .......................................................................................................... 13

                 C.         Defendants have failed to provide the due process required to protect
                            the First Amendment public right of access. .................................................. 14

     III.        Plaintiffs will continue to be irreparably harmed absent a preliminary
                 injunction. ....................................................................................................................15

     IV.         The balance of hardships and the public interest strongly favor preliminary
                 injunctive relief. ...........................................................................................................16

     V.          The Court should waive the security requirement. ......................................................17

Conclusion .....................................................................................................................................18




                                                                          i
              Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 3 of 24




                                                       Table of Authorities

Cases

Barker v. Wingo, 407 U.S. 514 (1972) ......................................................................................... 11

Bearden v. Georgia, 461 U.S. 660 (1983) .................................................................................... 11

Booth v. Galveston Cnty., No. 3:18-CV-00104, 2019 WL 4305457 (S.D. Tex.
   Sept. 11, 2019) ........................................................................................................................ 18

City of Atlanta v. Metro. Atlanta Rapid Transit Auth., 636 F.2d 1084 (5th Cir.
    Unit B 1981) ........................................................................................................................... 18

Clarke v. Commodity Futures Trading Comm’n, 74 F.4th 627 (5th Cir. 2023) ........................... 16

Daily Press, LLC v. Commonwealth, 878 S.E.2d 390 (Va. 2022) ...................................... 9, 10, 12

El Vocero de P.R. v. Puerto Rico, 508 U.S. 147 (1993) ................................................................. 8

Ex parte Gomez, 624 S.W.3d 573 (Tex. Crim. App. 2021) ............................................................ 3

Foley v. Commonwealth, 709 N.E.2d 794 (Mass. 1999) .............................................................. 17

Franciscan All., Inc. v. Becerra, 47 F.4th 368 (5th Cir. 2022)..................................................... 15

Globe Newspaper Co. v. Superior Ct. for Norfolk Cnty., 457 U.S. 596 (1982) .................... passim

Hartford Courant Co., LLC v. Carroll, 986 F.3d 211 (2d Cir. 2021) .......................................... 16

In re Globe Newspaper Co., 729 F.2d 47 (1st Cir. 1984) ............................................. 9, 10, 11, 12

In re Hearst Newspapers, L.L.C., 641 F.3d 168 (5th Cir. 2011) ........................................ 8, 13, 15

Kaepa, Inc. v. Achilles Corp., 76 F.3d 624 (5th Cir. 1996) .......................................................... 17

Lafler v. Cooper, 566 U.S. 156 (2012) ......................................................................................... 12

Lilly v. State, 365 S.W.3d 321 (Tex. Crim. App. 2012) ............................................................... 17

Nken v. Holder, 556 U.S. 418 (2009) ........................................................................................... 16

Opulent Life Church v. City of Holly Springs, 697 F.3d 279 (5th Cir. 2012)........................... 7, 16

Phila. Bail Fund v. Arraignment Ct. Magistrate Judges, 440 F. Supp. 3d 415
   (E.D. Pa. 2020).................................................................................................................. 11, 13

Presley v. Georgia, 558 U.S. 209 (2010) ...................................................................................... 17



                                                                      ii
              Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 4 of 24




Press-Enterprise Co. v. Superior Ct. of Cal., 464 U.S. 501 (1984).......................................... 8, 13

Press-Enterprise Co. v. Superior Ct. of Cal., 478 U.S. 1 (1986).............................................. 8, 13

Pursuing Am.’s Greatness v. Fed. Election Comm’n, 831 F.3d 500 (D.C. Cir.
   2016) ....................................................................................................................................... 16

Purvis v. State, 708 S.E.2d 283 (Ga. 2011) .................................................................................. 17

Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555 (1980) ................................................. 8, 13

Roman Cath. Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63 (2020) ............................................. 15

Rosales-Mireles v. United States, 138 S. Ct. 1897 (2018)............................................................ 11

Rothgery v. Gillespie County, 554 U.S. 191 (2008) ............................................................. 1, 4, 10

Schultz v. Medina Valley Indep. Sch. Dist., No. SA-11-CA-422-FB, 2011 WL
   13234770 (W.D. Tex. June 1, 2011) ....................................................................................... 18

Seattle Times Co. v. United States Dist. Ct. for W. Dist. of Wash., 845 F.2d 1513
   (9th Cir. 1988)......................................................................................................... 9, 10, 11, 12

State v. Williams, 459 A.2d 641 (N.J. 1983)....................................................................... 9, 12, 16

United States v. Ahsani, 76 F.4th 441 (5th Cir. 2023) ............................................................ 14, 15

United States v. Chagra, 701 F.2d 354 (5th Cir. 1983) ................................................ 9, 10, 11, 12

United States v. Edwards, 430 A.2d 1321 (D.C. 1981) ............................................................ 9, 12

United States v. Edwards, 823 F.2d 111 (5th Cir. 1987) .............................................................. 10

United States v. Salerno, 481 U.S. 739 (1987) ............................................................................. 11

Veasey v. Abbott, 870 F.3d 387 (5th Cir. 2017)............................................................................ 16

Waller v. Georgia, 467 U.S. 39 (1984) ......................................................................................... 17

Statutes

Mich. Comp. Laws § 767.37a(3) (1994)....................................................................................... 12

Nev. Rev. Stat. § 178.4849 (2021)................................................................................................ 12

Tex. Code Crim. P., Art. 15.17(a)........................................................................................... 3, 4, 5

Tex. Code Crim. P., Art. 17.028(a)................................................................................................. 3




                                                                        iii
             Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 5 of 24




Tex. Code Crim. P., Art. 17.15 ................................................................................................. 3, 11

Tex. Loc. Gov’t. Code § 351.041(a) ............................................................................................... 5

Wis. Stat. § 967.08(1) (1988)........................................................................................................ 12

Other Authorities

1 Wayne R. LaFave et al., Criminal Procedure §1.4(g) (4th ed. 2022) ......................................... 4

Caldwell County Court at Law Judge, Caldwell County Texas,
   https://perma.cc/SU5V-AXWP (last visited Sept. 12, 2023).................................................... 4

Caldwell County, Tex., Caldwell District Court and County Court Indigent
   Defense Plan art. I (2021), https://perma.cc/MRN4-HUEW .................................................... 4

Clark Neily, Jury Empowerment as an Antidote to Coercive Plea Bargaining, 31
   Fed. Sent. R. 284 (2019) ......................................................................................................... 12

Justice of Peace Courts of Caldwell County, Caldwell County Texas,
    https://perma.cc/HJS5-DU3L (last visited Sept. 12, 2023)....................................................... 4

Magistrate Court, County of Galveston, https://perma.cc/H8JB-XYPZ (last
  visited Sept. 13, 2023) .............................................................................................................. 5

Paul Heaton et al., The Downstream Consequences of Misdemeanor Pretrial
   Detention, 69 Stan. L. Rev. 711 (2017) .................................................................................. 12

Tex. Att’y. Gen. Op. MW-78 (1979), https://perma.cc/2NBM-2S59............................................ 4

Texas Justice Court Training Center, Magistrate Deskbook (3d ed. 2022),
   https://docs.gato.txst.edu/226904/Magistration%20Deskbook%20-
   %20Third%20Edition.pdf ......................................................................................................... 4

Timothy R. Schnacke et al., Pretrial Justice Inst., The History of Bail and Pretrial
   Release (2010), https://perma.cc/22VF-R6FY ....................................................................... 10

Rules

Del. R. Crim. P. J.P. Cts. R. 10(b)(1) (1998) ................................................................................ 12

Minn. R. Crim. P. 1.05 (2007) ...................................................................................................... 12

N.H. R. Crim. P. R. 10 (2015) ...................................................................................................... 12

N.M. R. Crim. P. Magis. Ct. R. 6-109 (2015) .............................................................................. 12

Tenn. R. Crim. P. R. 43(e)(2) (2006) ............................................................................................ 12



                                                                   iv
          Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 6 of 24




                                           Introduction

       Pursuant to Federal Rule of Civil Procedure 65 and Local Civil Rule 65, Plaintiffs

respectfully move for a preliminary injunction to remedy Defendants’ ongoing violations of

Plaintiffs’ First Amendment right of access to bail hearings in Caldwell County, Texas. Plaintiffs

seek a declaration that Defendants’ policy of banning the press and public from attending bail

hearings is unconstitutional, and an injunction requiring Defendants to presumptively open all such

hearings to the press and public and prohibiting them from closing a bail hearing unless they first

comply with all applicable constitutional requirements.1

                                     Preliminary Statement

       The Plaintiffs—state and local publications and a criminal justice organization—seek a

preliminary injunction to prevent further violations of their First Amendment right of access to

bail hearings in Caldwell County, Texas. This type of hearing, which is conducted by county

magistrates across Texas and is commonly referred to as “magistration,” “combines the Fourth

Amendment’s required probable-cause determination with the setting of bail, and is the point at

which the arrestee is formally apprised of the accusation against him.” Rothgery v. Gillespie

County, 554 U.S. 191, 195 (2008) (footnote omitted). As the “first formal proceeding against an

accused,” “where he learns the charge against him and his liberty is subject to restriction,”

magistration “marks the start of adversary judicial proceedings that trigger attachment of the Sixth

Amendment right to counsel.” Id. at 203, 213.

       Despite the critical importance of these bail hearings, Defendants bar the press and public

from attending them. Caldwell County’s Magistrates have adopted a policy of categorically closing


   1
   Pursuant to Local Rule CV-7(g), counsel for Plaintiffs conferred with counsel for Defendants,
who represented that Defendants oppose the motion for a preliminary injunction because it exceeds
what is constitutionally and statutorily authorized.


                                                 1
          Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 7 of 24




all magistration proceedings to the press and public. In addition, they have chosen to conduct

magistration inside the County Jail and in a room that could not accommodate members of the

press or public even if they were permitted to attend. In accordance with the Magistrates’ blanket

closure policy, the Sheriff—as keeper of the County Jail—has adopted a policy of prohibiting

members of the press and public from entering the jail for the purpose of attending magistration.

       Plaintiffs are likely to succeed on the merits because the blanket closure of magistration

proceedings is plainly unconstitutional. The press and public have a broad First Amendment right

of access to judicial proceedings that can be overcome only in exceptional circumstances. This

right is fundamental to “our republican system of self-government,” because it ensures that the

“discussion of governmental affairs” is an “informed” one, and “permits the public to participate

in and serve as a check upon the judicial process.” Globe Newspaper Co. v. Superior Ct. for

Norfolk Cnty., 457 U.S. 596, 604–06 (1982). The Supreme Court has held that this right extends

to pretrial proceedings, and every federal and state appellate court to address the question—

including the Fifth Circuit—has expressly held that it extends to bail hearings.

       As these courts have recognized, bail hearings are integral to our judicial system. They

implicate numerous constitutional protections, determine whether the presumptively innocent will

be deprived of their liberty pending trial, involve the consideration of weighty questions such as

community safety and the risk of flight, and in most cases are the accused’s only hearing prior to

entering a plea. As a result, public access to bail hearings serves the same societal interests as

public access to criminal trials. In addition to promoting the informed discussion of governmental

affairs and allowing the public to serve as a check on the judicial process, public access also fosters

the appearance of fairness, which in turn heightens public respect for the judicial process.




                                                  2
          Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 8 of 24




       The other preliminary injunction factors also weigh heavily in Plaintiffs’ favor. In the

absence of preliminary relief, the press and public, including Plaintiffs, will be prevented from

exercising their First Amendment right of access to judicial proceedings each time the Caldwell

County Magistrates conduct magistration behind closed doors. The deprivation of First

Amendment rights, even for short periods of time, causes irreparable injury. Preliminary relief will

not only prevent irreparable injury to Plaintiffs, but will also serve the public interest and benefit,

rather than harm, Defendants. The openness of magistration will enhance the quality of, and

promote public confidence in, the County’s judicial proceedings.

                                            Background

I.     Magistration in Caldwell County

       State law requires that arrestees in Caldwell County and across Texas be brought before a

county magistrate within 48 hours of arrest for an initial appearance which, as noted above, is

commonly referred to as “magistration.” Tex. Code Crim. P., Art. 15.17(a). This first appearance

serves many functions, the most important of which is to set bail. Id. Magistrates must make

individualized determinations regarding the bail amount and conditions based on “all

circumstances,” including a number of enumerated factors, such as the nature of the alleged

offense, the accused’s ability to make bail, the risk of flight, and community safety. Tex. Code

Crim. P., Arts. 17.15, 17.028(a). “Other relevant factors include the defendant’s employment

history, family ties, length of residency, criminal history, previous bond compliance, other

outstanding bonds, and aggravating facts of the charged offense.” Ex parte Gomez, 624 S.W.3d

573, 576 (Tex. Crim. App. 2021). In addition to setting bail, magistrates must inform arrestees of

the accusations against them, determine probable cause, advise arrestees of their rights (including

the right to counsel), inform them how to request the appointment of counsel, and ensure they have




                                                  3
           Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 9 of 24




reasonable assistance in making the request. Tex. Code Crim. P., Art. 15.17(a); see also Rothgery,

554 U.S. at 195, 213.2

          In Caldwell County, the Sheriff, Defendant Mike Lane, is responsible for ensuring that

arrestees are taken before a magistrate within 48 hours of arrest.3 Caldwell County has five

magistrates (“Magistrates”)—Defendant Trey Hicks, the County Court at Law Judge, and

Defendants Matt Kiely, Shanna Conley, Anita DeLeon, and Yvette Mireles, the County’s Justices

of the Peace.4 They conduct magistration on a rotating basis inside the Caldwell County Jail, where

the arrestees are detained.5 TFDP Decl. Ex. 3. State law does not specify where magistration must

take place and instead leaves that decision to magistrates. See Tex. Code Crim. P., Art. 15.17(a)

(providing that the officer who makes the arrest or who has custody of the arrestee, “take [him] or

have him taken before [a county] magistrate,” i.e., to the place where the magistrate chooses to

carry out his or her duties).6 Although the Magistrates can participate in person, they generally do



      2
     In other jurisdictions, an initial appearance is also known as an “initial presentment,”
“arraignment on the complaint,” or “preliminary arraignment.” 1 Wayne R. LaFave et al., Criminal
Procedure §1.4(g) (4th ed. 2022) (internal quotation marks omitted).
      3
     Caldwell County, Tex., Caldwell District Court and County Court Indigent Defense Plan art.
I (2021), https://perma.cc/MRN4-HUEW; see also Tex. Code Crim. P., Art. 15.17(a).
      4
    Caldwell County Court at Law Judge, Caldwell County Texas, https://perma.cc/SU5V-
AXWP (last visited Sept. 12, 2023); Justice of Peace Courts of Caldwell County, Caldwell County
Texas, https://perma.cc/HJS5-DU3L (last visited Sept. 12, 2023).
      5
     The Plaintiffs have submitted declarations from: (1) The Texas Tribune; (2) The
Caldwell/Hays Examiner; (3) Mano Amiga; (4) The Texas Fair Defense Project; and (5) Scott
Wilkens, Senior Counsel at the Knight First Amendment Institute at Columbia University and
counsel to Plaintiffs.
  6
    Tex. Att’y. Gen. Op. MW-78 (1979), https://perma.cc/2NBM-2S59 (stating that “[t]here is no
provision in article 15.17 as to where the warnings [given during magistration] must be issued,”
and that “[p]resumably [they] may be [issued] anywhere in the county where the magistrate may
be found,” given that the magistrate’s “jurisdiction is county wide”); Texas Justice Court Training
Center,         Magistrate        Deskbook           at        4       (3d         ed.       2022),
https://docs.gato.txst.edu/226904/Magistration%20Deskbook%20-%20Third%20Edition.pdf
(“[N]o statute dictates where an Article 15.17 hearing must occur. In fact, the Code of Criminal


                                                 4
           Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 10 of 24




so via videoconference. Caldwell/Hays Exam’r Decl. ¶ 3; see also Tex. Code Crim. P., Art.

15.17(a) (“The arrested person may be taken before the magistrate in person or . . . by means of a

videoconference.”). Sheriff Lane is responsible for ensuring that jail personnel take arrestees to

the room inside the jail that is designated for magistration. See Tex. Loc. Gov’t. Code § 351.041(a)

(providing that “[t]he sheriff of each county is the keeper of the county jail”).

          The Caldwell County Magistrates have adopted and maintain a policy banning the press

and public from attending magistration, and, accordingly, Sheriff Lane has put in place a policy

prohibiting the press and public from entering the jail for that purpose. Caldwell/Hays Exam’r

Decl. ¶ 6; see also Tex. Loc. Gov’t. Code § 351.041(a). As a result, only the Magistrate and

accused are present.7 TFDP Decl. Ex. 3. Defendants do not provide the press or public with notice

of when magistration proceedings will occur, the names of the arrestees to be magistrated, or an

opportunity to be heard prior to closure of any magistration proceeding. TFDP Decl. Ex. 2.

II.       Harms suffered by Plaintiffs due to the closure of magistration

          Defendants’ policy of closing all magistration proceedings inhibits Plaintiffs from pursuing

their organizational goals. Access to criminal proceedings, including magistration, is fundamental

to The Texas Tribune’s mission of ensuring that every Texan is empowered with the civic

information they need to become full participants in our democracy. The Tribune regularly reports

on a broad range of criminal justice issues, including the role that bail and pretrial detention play

in the criminal legal system. Tex. Tribune Decl. ¶ 3.


Procedure states that a peace officer shall bring the accused before a magistrate, not vice versa.
Code of Criminal Procedure Art. 15.17(a).”).
      7
    This is not necessarily the case in other Texas counties. In Galveston County, for example, a
magistrate clerk, a state prosecutor, and a defense attorney representing all arrestees are present at
magistration. Magistrate Court, County of Galveston, https://perma.cc/H8JB-XYPZ (last visited
Sept. 13, 2023). For those arrestees who cannot afford the bail amount that is set, the County
provides a review of their case within 12 hours of their initial appearance. Id.


                                                   5
         Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 11 of 24




       The Caldwell/Hays Examiner requires access to magistration so that it can report on

newsworthy cases or issues concerning the Caldwell County criminal legal system, including racial

disparities in the bail amounts set by the Magistrates, whether the Magistrates are inquiring into

arrestees’ ability to pay bail, the County’s compliance with the Sandra Bland Act and other issues

related to detainees’ mental health, and the jail population size and demographics. Caldwell/Hays

Exam’r Decl. ¶ 5.

       Mano Amiga needs access to magistration for many aspects of its work, including to bail

people out of jail expeditiously, gather information to advocate for arrestees and victims of crime,

support community members from populations that are overrepresented in the criminal legal

system, and educate the public on the importance of local courts. Mano Amiga Decl. ¶ 3.

III.   Plaintiffs’ efforts to access magistration and Defendants’ policy banning access

       Defendants have refused numerous requests by Plaintiffs and others to observe

magistration in Caldwell County. In November 2021, the Texas Fair Defense Project (“TFDP”)—

Plaintiffs’ Counsel in this matter but acting on its own behalf at the time—requested access from

Defendant Mireles’ predecessor, then–Justice of the Peace Raymond DeLeon. He refused and

stated he had a policy of closing magistration to the public. TFDP again requested access in April

2022, this time from Defendants Kiely, Conley, and Anita DeLeon. Defendant Conley refused

outright, and Defendants Kiely and Anita DeLeon failed to respond. TFDP Decl. Ex. 1.

       In early June 2022, the Executive Director of Plaintiff Caldwell/Hays Examiner, Jordan

Buckley, spoke with County Jail Captain James Short regarding public access to magistration.

Captain Short confirmed that all magistration proceedings are closed to the public. Caldwell/Hays

Exam’r Decl. ¶ 3. Later that month, TFDP and Plaintiff Mano Amiga wrote to the Caldwell County

Magistrates then in office and other county officials explaining the constitutional significance of




                                                 6
         Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 12 of 24




public access to criminal court proceedings, requesting that the County rescind its blanket closure

of magistration and open all such proceedings to the public, give advance notice of the date and

time of magistration proceedings on a public website, provide remote access to those who cannot

attend in person, and comply with all constitutional requirements before closing any magistration

proceeding. Then–County Court at Law Judge and Chief Magistrate Barbara Molina responded,

“[t]he Magistrates of Caldwell County are maintaining the policy banning the public from

observing magistration.”8 TFDP Decl. Ex. 3.

        Most recently, on March 23, 2023, after a new County Court at Law Judge—Defendant

Hicks—and a new Justice of the Peace—Defendant Mireles—took office, Plaintiffs requested that

the County rescind its blanket closure policy and open magistration to the public, and asked for a

response by April 6. Wilkens Decl. Ex. 1. Defendants did not respond, even after an April 17, 2023

follow-up email stating that Plaintiffs would treat a failure to respond as a refusal. Id. Ex. 2.

                                             Argument

    I. Preliminary injunction standard.

        To obtain a preliminary injunction, Plaintiffs must show: “(1) a substantial likelihood of

success on the merits; (2) a substantial threat of irreparable harm if the injunction is not granted;

(3) that the threatened injury outweighs any harm that the injunction might cause to the defendant;

and (4) that the injunction will not disserve the public interest.” Opulent Life Church v. City of

Holly Springs, 697 F.3d 279, 288 (5th Cir. 2012). Each of these factors weighs strongly in

Plaintiffs’ favor.




   8
    Jordan Buckley of the Caldwell/Hays Examiner again sought access to magistration on August
17, 2022, and was informed by a jail sergeant that the public is not permitted to observe
magistration at the jail. Caldwell/Hays Exam’r Decl. ¶ 4.


                                                  7
         Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 13 of 24




II.    Plaintiffs are likely to succeed on the merits.

       A.      The press and public have a presumptive First Amendment right of access to
               bail hearings.

       Beginning with Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555 (1980), the Supreme

Court has repeatedly recognized a broad First Amendment right of access to criminal trials and

pretrial proceedings. Id. (criminal trials); Globe Newspaper Co., 457 U.S. 596 (criminal trials);

Press-Enterprise Co. v. Superior Ct. of Cal. (Press-Enterprise I), 464 U.S. 501 (1984) (jury voir

dire hearings); Press-Enterprise Co. v. Superior Ct. of Cal. (Press-Enterprise II), 478 U.S. 1

(1986) (preliminary hearings of the type conducted in California); El Vocero de P.R. v. Puerto

Rico, 508 U.S. 147 (1993) (per curiam) (preliminary hearings of the type conducted in Puerto

Rico). In these cases, the Court has developed a two-part “experience and logic” test to determine

whether the press and public have a presumptive First Amendment right of access to the type of

proceeding at issue. See, e.g., Press-Enterprise II, 478 U.S. at 9.

       The experience prong asks, “whether the place and process have historically been open to

the press and general public,” because a “tradition of accessibility implies the favorable judgment

of experience.” Id. at 8 (internal quotation marks omitted). Courts must look to the history of

openness “throughout the United States” rather than in “any one jurisdiction.” El Vocero de P.R.,

508 U.S. at 150. The logic prong, in turn, asks “whether public access plays a significant positive

role in the functioning of the particular process in question,” Press-Enterprise II, 478 U.S. at 8,

and looks to the societal interests that would be served by the openness of the proceeding. Press-

Enterprise I, 464 U.S. at 508–09. Applying the experience and logic test, “[t]he courts of appeals

have . . . recognized a First Amendment right of access to various proceedings within a criminal

prosecution,” including bail, suppression, due process, entrapment, plea, and sentencing hearings.

In re Hearst Newspapers, L.L.C., 641 F.3d 168, 176 (5th Cir. 2011) (collecting cases).


                                                  8
         Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 14 of 24




        Of critical importance to this case, every federal circuit court and state supreme court to

have addressed the issue—including the Fifth Circuit—has held that the press and public have a

First Amendment right of access to bail hearings. See United States v. Chagra, 701 F.2d 354, 363–

64 (5th Cir. 1983); Seattle Times Co. v. United States Dist. Ct. for W. Dist. of Wash., 845 F.2d

1513, 1517 (9th Cir. 1988); In re Globe Newspaper Co., 729 F.2d 47, 52 (1st Cir. 1984); Daily

Press, LLC v. Commonwealth, 878 S.E.2d 390, 398 (Va. 2022); State v. Williams, 459 A.2d 641,

650 (N.J. 1983); United States v. Edwards, 430 A.2d 1321, 1344 (D.C. 1981) (en banc). These

cases concern bail-setting hearings, bail-modification hearings, or both, and draw no distinction

between them in applying the experience and logic test and recognizing a First Amendment right

of access. See id.

        In the Fifth Circuit case, United States v. Chagra, a federal magistrate closed a bail

reduction hearing over the objection of two newspapers, concluding that evidence the government

planned to introduce would, if publicized, prejudice the defendant’s right to a fair trial. 701 F.2d

at 356. On appeal, the Fifth Circuit applied the experience and logic test and held that the press

and public have a presumptive First Amendment right of access to bail reduction hearings. Id. at

362–64.9 Addressing the experience prong, the court found that “bail is most often set at the

defendant’s first appearance before a magistrate or justice of the peace, presumably in open court,”

but that “this is not always the procedure.” Id. at 362–63. Turning to the logic prong, the court

observed that the openness of bail reduction hearings serves the same societal interests as the

openness of criminal trials. Id. at 363.10


   9
    Although the Fifth Circuit did not use the term “experience and logic”—the Supreme Court
had not yet given the test that name—it applied that test in substance. Id.
   10
      Chagra states in dicta that its recognition of a First Amendment right of access should not be
interpreted to extend to “informal bail procedures,” such as a “police desk sergeant . . . set[ting]
bail.” Chagra, 701 F.2d at 363–64. The bail hearings held in Caldwell County and across Texas


                                                 9
         Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 15 of 24




        Although Chagra refers to “bail reduction hearings” in recognizing a First Amendment

right of access, its reasoning applies in equal measure to all pretrial bail hearings, including bail

setting hearings. Indeed, the Fifth Circuit has interpreted Chagra as “recogniz[ing] a first

amendment right [of] access to pretrial bail proceedings.” United States v. Edwards, 823 F.2d

111, 115 (5th Cir. 1987) (emphasis added). Other federal and state appellate courts have interpreted

Chagra similarly. See Seattle Times, 845 F.2d at 1516; In re Globe Newspaper, 729 F.2d at 51;

Daily Press, 878 S.E.2d at 398. This is unsurprising, because in applying the experience prong,

the Chagra court analyzed the history of open bail setting hearings, not bail reduction hearings,

and in applying the logic prong, the court analyzed the societal interests served by opening bail

hearings in general, not bail reduction hearings in particular. See Chagra, 701 F.2d at 362–64. In

short, the Fifth Circuit treated bail setting hearings and bail reduction hearings as indistinguishable

for purposes of the First Amendment right of access. See id.

        Even if the public’s First Amendment right of access to bail setting hearings—including

magistration—were an open question, Chagra, the other federal and state appellate court decisions

referenced above, and the Supreme Court authorities on which they rely provide overwhelming

support for recognition of that right. Looking first to the experience prong, there is evidence of the

openness of bail hearings dating back to sixteenth century England.11 In addition, as the Fifth

Circuit noted, the “relative importance of pretrial procedure to that of trial has grown immensely

in the last two hundred years,” and “[b]ail procedures have likewise become more significant.”


cannot plausibly be characterized as “informal,” as the Supreme Court made clear in Rothgery v.
Gillespie County, 554 U.S. at 203 (holding that an arrestee’s initial appearance before a magistrate
is the “first formal proceeding” in a criminal prosecution).
   11
     Timothy R. Schnacke et al., Pretrial Justice Inst., The History of Bail and Pretrial Release 3
(2010), https://perma.cc/22VF-R6FY (“Parliament focused on adding safeguards to the bail
process to protect persons from political abuse and local corruption . . . In 1554, Parliament
required that the bail bond decision be made in open session.”).


                                                  10
         Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 16 of 24




Chagra, 701 F.2d at 363 (internal quotation marks omitted); see also Seattle Times, 845 F.2d at

1516 (adopting Chagra’s reasoning); In re Globe Newspaper, 729 F.2d at 51 (same).

       The logic prong strongly supports recognition of a First Amendment right of access to bail

setting hearings, including magistration. Determining bail is, without question, “one of major

importance to the administration of justice.” In re Globe Newspaper, 729 F.2d at 52. Bail

determinations require careful consideration of a number of factors, including likelihood of flight

to avoid prosecution and risk to community safety. See, e.g., Tex. Code Crim. P., Art. 17.15. These

decisions have a constitutional dimension, as reflected by the Eighth Amendment’s Excessive Bail

Clause and the Supreme Court’s equal protection and due process jurisprudence. See, e.g., Bearden

v. Georgia, 461 U.S. 660, 665, 672–73 (1983); United States v. Salerno, 481 U.S. 739, 750, 752

(1987). Denying bail or setting bail at an amount the accused cannot afford deprives the

presumptively innocent of their liberty pending trial, which can have devastating consequences for

them and their families. Pretrial detention, even for a short period, often means loss of a job, the

disruption of family life, and other harms to wellbeing. E.g., Barker v. Wingo, 407 U.S. 514, 532–

33 (1972); Phila. Bail Fund v. Arraignment Ct. Magistrate Judges, 440 F. Supp. 3d 415, 424 (E.D.

Pa. 2020). Those detained pretrial are also “hindered in [their] ability to gather evidence, contact

witnesses, or otherwise prepare [their] defense.” Barker, 407 U.S. at 533. The Supreme Court’s

observation about prison sentences applies with even greater force to pretrial detention: “[A]ny

amount of actual jail time is significant, and ha[s] exceptionally severe consequences for the

incarcerated individual [and] for society which bears the direct and indirect costs of incarceration.”

Rosales-Mireles v. United States, 138 S. Ct. 1897, 1907 (2018) (alterations in original; internal

quotation marks and citations omitted).




                                                 11
         Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 17 of 24




        The importance of bail hearings has continued to grow over the past several decades, in

large part because “criminal justice today is for the most part a system of pleas, not a system of

trials.” Lafler v. Cooper, 566 U.S. 156, 170 (2012) (noting that “[n]inety-seven percent of federal

convictions and ninety-four percent of state convictions are the result of guilty pleas.”). Bail

hearings play a critically important role in this “system of pleas,” because pretrial detention—and

all its attendant negative consequences—provides “a powerful lever of coercive plea

bargaining.”12 The increasing significance of bail hearings helps to explain the very strong

nationwide trend toward requiring that bail hearings be open to the public. The federal and state

court rulings referenced above require open bail hearings across 19 states and the District of

Columbia, at least eight more states have added open bail hearing requirements by statute or court

rule,13 and no state has moved to close bail hearings that were once open.

        For these reasons, it is beyond dispute that “the same societal interests . . . that mandated a

first amendment right of access to criminal trials in Richmond Newspapers apply to pretrial

criminal proceedings,” including bail hearings. Chagra, 701 F.2d at 363–64 (internal quotation

marks omitted); see also Seattle Times, 845 F.2d at 1516; In re Globe Newspaper, 729 F.2d at 52;

Daily Press, 878 S.E.2d at 398; Williams, 459 A.2d at 648–50; Edwards, 430 A.2d at 1344–45.

The openness of bail hearings fosters an informed discussion of governmental affairs by providing

the public with a more complete understanding of the judicial system. See Globe Newspaper, 457


   12
      Clark Neily, Jury Empowerment as an Antidote to Coercive Plea Bargaining, 31 Fed. Sent.
R. 284, 286 (2019); see also Paul Heaton et al., The Downstream Consequences of Misdemeanor
Pretrial Detention, 69 Stan. L. Rev. 711, 771 (2017) (study of bail practices in Harris County,
Texas finding that defendants who are detained pretrial are significantly more likely to plead guilty
“for no reason relevant to guilt.”).
   13
     E.g., Del. R. Crim. P. J.P. Cts. R. 10(b)(1) (1998); Mich. Comp. Laws § 767.37a(3) (1994);
Minn. R. Crim. P. 1.05(4)(1)(a) & (10)(1) (2007); Nev. Rev. Stat. § 178.4849 (2021); N.H. R.
Crim. P. R. 10 (2015); N.M. R. Crim. P. Magis. Ct. R. 6-109 (2015); Tenn. R. Crim. P. R. 43(e)(2)
(2006); Wis. Stat. § 967.08(1) (1988).


                                                  12
         Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 18 of 24




U.S. at 604–05. Openness also acts as “an effective restraint on possible abuse of judicial power”

by subjecting the hearings “to contemporaneous review in the forum of public opinion.” Richmond

Newspapers, 448 U.S. at 596 (Brennan, J., concurring in the judgment). This is particularly

important in bail hearings, where no jury is present. See Press-Enterprise II, 478 U.S. at 12–13.

        Public access to bail hearings also “fosters an appearance of fairness, thereby heightening

public respect for the judicial process,” Globe Newspaper, 457 U.S. at 606, because “people not

actually attending [the hearings] can have confidence that standards of fairness are being observed;

the sure knowledge that anyone is free to attend gives assurance that established procedures are

being followed and that deviations will become known.” Press-Enterprise I, 464 U.S. at 508

(emphasis in original). Finally, open bail hearings provide “community therapeutic value” by

serving as an outlet for concern, hostility, and emotion that can be provoked by crimes, especially

violent ones. Richmond Newspapers, 448 U.S. at 569–72 (plurality opinion). Thus, “[r]egardless

of what the historical practice of openness may have been, the societal interests outlined by the

Supreme Court . . . lead to the inexorable conclusion that the First Amendment protects the right

to attend and report on bail proceedings.” Phila. Bail Fund, 440 F. Supp. 3d at 421.

        B.      Defendants cannot overcome the presumptive right of access to bail hearings.

        Any attempt by Defendants to justify their across-the-board closure of magistration will

fail. Like other judicial proceedings to which the press and public have a presumptive First

Amendment right of access, magistration can be closed only on a case-by-case basis, and only if

the magistrate makes specific on-the-record findings that closure is narrowly tailored to serve a

compelling interest and that reasonable alternatives to closure would be inadequate to serve that

interest. See Hearst, 641 F.3d at 181. This case-by-case approach to closure is mandated by the

narrow tailoring requirement, because it “ensures that the constitutional right of . . . access . . . will




                                                   13
         Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 19 of 24




not be restricted except where necessary to protect the State’s interest.” Globe Newspaper, 457

U.S. at 609. Furthermore, the requirement that the court make specific, on-the-record findings

justifying closure “is a procedural safeguard of the First Amendment rights of the press and the

public.” United States v. Ahsani, 76 F.4th 441, 448 (5th Cir. 2023).

        Defendants’ blanket closure policy is unconstitutional because it is “a mandatory closure

rule,” which prohibits the case-by-case consideration required by the First Amendment. Globe

Newspaper, 457 U.S. at 608 (emphasis in original).14 Even if the policy were rescinded and the

Caldwell County Magistrates began considering closure case by case, they would have to meet the

other constitutional requirements set forth above before closing any specific magistration

proceeding.

        C.     Defendants have failed to provide the due process required to protect the
               First Amendment public right of access.

        The Caldwell County Magistrates do not provide the press or public with notice of

upcoming magistration proceedings, i.e., the date, time, and location of each proceeding and the

names of those to be magistrated. Once magistration is open to the press and public, however, the

Magistrates will have to provide this information to comply with the First Amendment right of

access. In addition, if a Magistrate “is considering closing a proceeding, [the Magistrate] must

generally provide all interested parties—including the public and the press—notice and an




   14
      In Globe Newspaper, the Supreme Court struck down a state law requiring that all trials for
sex offenses against minors be closed to the public during the testimony of minor victims. 457
U.S. at 598–602. Although the state had a compelling interest in “safeguarding the physical and
psychological well-being of a minor,” the Court held that the state’s “mandatory closure rule” was
not narrowly tailored because the state’s “interest could be served just as well by requiring the trial
court to determine [the necessity of closure] on a case-by-case basis.” Id. at 607–09 (emphasis in
original); id. at 611 n.27 (“a mandatory rule, requiring no particularized determinations in
individual cases, is unconstitutional”).


                                                  14
         Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 20 of 24




opportunity to be heard.” Ahsani, 76 F.4th at 448.15 Otherwise, a court “cannot properly weigh the

First Amendment right of access against the interests served by closure, nor can it fully consider

alternatives to closure.” Hearst, 641 F.3d at 183. Thus, the role of the press and public in ensuring

the proper functioning of the judicial system includes not just attending criminal proceedings but

also raising objections when courts consider closure.

        The Caldwell County Magistrates will have some discretion to decide what form of notice

and opportunity to be heard to provide to the press and public. Ahsani, 76 F.4th at 448 & n.13;

Hearst, 641 F.3d at 183–84. They must, however, choose a form of notice and opportunity to be

heard that extends to the press and public generally, not just those present at magistration, and they

must justify the chosen form of notice and opportunity to be heard “under the balancing test of

Mathews v. Eldridge, 424 U.S. 319, 335 [] (1976).” Ahsani, 76 F.4th at 448 & n.13 (quoting

Hearst, 641 F.3d at 183 n.15).

III.    Plaintiffs will continue to be irreparably harmed absent a preliminary injunction.

        Plaintiffs suffer irreparable injury daily—each time the Magistrates conduct an arrestee’s

magistration behind closed doors. This clearly satisfies the second preliminary injunction factor,

because “[t]he loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Roman Cath. Diocese of Brooklyn v. Cuomo, 141

S. Ct. 63, 67 (2020) (per curiam) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality

opinion)); see Franciscan All., Inc. v. Becerra, 47 F.4th 368, 380 (5th Cir. 2022) (“We have



   15
      In Hearst, the Fifth Circuit held that the First Amendment right of access to criminal
proceedings extends to the press and public generally, not just to those who happen to be present
in the courtroom when a closure motion is made. 641 F.3d at 181–83. The court explained that “it
seems entirely inadequate to leave the vindication of a First Amendment right to the fortuitous
presence in the courtroom of a public spirited citizen willing to complain about closure.” Id. at 183
(internal quotation marks omitted).


                                                 15
         Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 21 of 24




recognized that the loss of freedoms guaranteed by the First Amendment . . . constitute[s] per se

irreparable harm.”); Hartford Courant Co., LLC v. Carroll, 986 F.3d 211, 224 (2d Cir. 2021)

(same, applied in First Amendment public right of access case). Even if a further showing of

irreparable injury were required, Plaintiffs have established that their exclusion from magistration

inhibits their ability to pursue their organizational goals. See supra at 5-6.

IV.    The balance of hardships and the public interest strongly favor preliminary
       injunctive relief.

       The two remaining preliminary injunction factors—the balance of the equities and the

public interest—strongly favor Plaintiffs. As the Supreme Court and Fifth Circuit have observed,

these two factors “merge when the Government is the opposing party.” Nken v. Holder, 556 U.S.

418, 435 (2009); see also Clarke v. Commodity Futures Trading Comm’n, 74 F.4th 627, 643 (5th

Cir. 2023). “[T]he government’s interest is the public interest.” Pursuing Am.’s Greatness v. Fed.

Election Comm’n, 831 F.3d 500, 511 (D.C. Cir. 2016) (emphasis in original); see also Veasey v.

Abbott, 870 F.3d 387, 391 (5th Cir. 2017). Furthermore, because “[i]njunctions protecting First

Amendment freedoms are always in the public interest,” Opulent Life Church, 697 F.3d at 298

(internal quotation marks omitted), the preliminary injunction Plaintiffs seek is also in Defendants’

interest. In short, there are no hardships to balance. See Hartford Courant, 986 F.3d at 224.

       Defendants will benefit from the injunction not simply because Plaintiffs’ First

Amendment rights will be protected while the case proceeds, but also because, as noted above,

opening magistration to the public will “foster[] an appearance of fairness, thereby heightening

public respect for the judicial process.” Globe Newspaper, 457 U.S. at 606. “[R]eal benefits

redound to the judiciary as a governmental institution—the judicial function itself is enhanced—

by providing public access to criminal pretrial proceedings.” Williams, 459 A.2d at 649.




                                                  16
           Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 22 of 24




          Defendants cannot claim any hardship by arguing that opening magistration to the public

may necessitate moving the proceedings to another location such as the county courthouse. Judges

cannot avoid the constitutional mandate of public access by choosing to hold proceedings in

locations inaccessible to the public. The Caldwell County Magistrates have the authority to

determine where to conduct magistration within the County, see supra at 4 & n.6, and they must

exercise that authority in compliance with the constitution. See Lilly v. State, 365 S.W.3d 321,

331–32 (Tex. Crim. App. 2012) (holding bench trial inside prison with “highly restrictive”

admittance policies violated defendant’s Sixth Amendment right to a public trial); Purvis v. State,

708 S.E.2d 283, 283–85 (Ga. 2011) (holding trial inside jail and “totally relinquish[ing] to jail

officials the authority to control the public’s access” violated defendant’s Sixth Amendment public

trial right); Foley v. Commonwealth, 709 N.E.2d 794, 797 (Mass. 1999) (holding bail hearing

inside a jail did not violate defendant’s Sixth Amendment public trial right because the space inside

the jail accommodated members of the public and was no more difficult to access than a

courthouse).16

V.        The Court should waive the security requirement.

          In issuing the preliminary injunction, this Court should exercise its discretion to waive the

security requirement set forth in Fed. R. Civ. P. 65(c). See Kaepa, Inc. v. Achilles Corp., 76 F.3d

624, 628 (5th Cir. 1996). Waiver is appropriate because Plaintiffs—non-profit organizations with

limited resources—have brought this public interest litigation to vindicate constitutional rights.

See City of Atlanta v. Metro. Atlanta Rapid Transit Auth., 636 F.2d 1084, 1094 (5th Cir. Unit B



     16
     A defendant’s Sixth Amendment right to a public trial is “no less protective” of open
proceedings than the public’s First Amendment right of access, and the constitutional analysis
under both is essentially the same. Waller v. Georgia, 467 U.S. 39, 46 (1984); see also Presley v.
Georgia, 558 U.S. 209, 213 (2010) (per curiam).


                                                   17
         Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 23 of 24




1981); Schultz v. Medina Valley Indep. Sch. Dist., No. SA-11-CA-422-FB, 2011 WL 13234770,

at *2 (W.D. Tex. June 1, 2011) (waiving security requirement “[b]ecause this suit seeks to enforce

fundamental constitutional norms”); Booth v. Galveston Cnty., No. 3:18-CV-00104, 2019 WL

4305457, at *2 (S.D. Tex. Sept. 11, 2019) (same).

                                            Conclusion

       For the reasons stated, Plaintiffs respectfully request that the Court enter a preliminary

injunction prohibiting Defendants from enforcing their policy of closing magistration proceedings

to the press and public, and from closing any arrestee’s magistration without first complying with

all constitutional requirements, as set forth above.

 Dated: September 27, 2023                         Respectfully submitted,

  /s/ Camilla Hsu                                   /s/ Scott Wilkens
 Camilla Hsu (24130207)                            Scott Wilkens (Pro Hac Vice)
 Texas Fair Defense Project                        Knight First Amendment Institute
 314 E. Highland Mall Blvd., Suite 204               at Columbia University
 Austin, TX 78752                                  475 Riverside Drive, Suite 302
 (512) 637-5220 x111                               New York, NY 10115
 chsu@fairdefense.org                              (646) 745-8500
                                                   scott.wilkens@knightcolumbia.org
 Counsel for Plaintiffs Mano Amiga and
  Caldwell/Hays Examiner                           Counsel for Plaintiffs

  /s/ Julie A. Ford
 Julie A. Ford (07240500)
 George Brothers Kincaid & Horton, LLP
 114 W. 7th Street, Suite 1100
 Austin, Texas 78701
 (512) 495-1448
 Jford@gbkh.com

 Counsel for Plaintiff Texas Tribune




                                                 18
         Case 1:23-cv-00910-RP Document 16 Filed 09/27/23 Page 24 of 24




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 27 day of September, 2023, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system and, per Fed. R. Civ. P. 5(b)(2)(E) and prior

written consent by the parties, served the foregoing via email to:

       J. Eric Magee

       Allison, Bass & Magee LLP

       1301 Nueces Street, Suite 201

       Austin, TX 78701

       e.magee@allison-bass.com


 Dated: September 27, 2023                         /s/ Camilla Hsu
                                                  Camilla Hsu (24130207)
                                                  Texas Fair Defense Project
                                                  314 E. Highland Mall Blvd., Suite 204
                                                  Austin, TX 78752
                                                  (512) 637-5220 x111
                                                  chsu@fairdefense.org

                                                  Counsel for Plaintiffs Mano Amiga and
                                                   Caldwell/Hays Examiner




                                                19
